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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                         )
                                                         )
                                                         )
 In re EX PARTE Application of Robert Preslier           )    Case No. 1:20-cv-00684
 for an Order, Pursuant to 28 U.S.C. § 1782 to           )
 Obtain Discovery from the Calder Foundation for         )
 Use in a Foreign Proceeding,                            )
                                                         )
                             Applicant.                  )
                                                         )
                                                         )
                                                         )


  APPLICANT ROBERT PRESLIER’S EX PARTE APPLICATION FOR AN ORDER,
        PURSUANT TO 28 U.S.C. § 1782, TO OBTAIN DISCOVERY FROM
     THE CALDER FOUNDATION FOR USE IN A FOREIGN PROCEEDING

       Based upon the attached Declarations of R. Zachary Gelber, Pierre-Randolph Dufau, and

Robert Preslier and the exhibits attached thereto; and the incorporated Memorandum of Law in

support of this Application and the exhibits attached thereto, Robert Preslier hereby moves the

Court to grant this Application and enter the Proposed Order (attached to this Application)

pursuant to 28 U.S.C. § 1782: (i) authorizing the Applicant to serve the Calder Foundation, with

the subpoena attached as Exhibit 3 to the Declaration of R. Zachary Gelber; and (ii) directing the

Calder Foundation to preserve and produce the documents responsive to the applicable subpoena

in its possession, custody, and control.
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New York, NY                    GELBER & SANTILLO PLLC
Dated: January 24, 2020
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